
31 N.Y.2d 668 (1972)
Stanley Regenbogen, as President and upon Behalf of Sutton Terrace Tenants Association, Appellants,
v.
Rent Stabilization Association of N. Y. C., Inc., et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 11, 1972.
Decided September 28, 1972.
Norman C. Ryp for motion.
Norman Redlich, Corporation Counsel (Stanley Buchsbaum and Alfred Weinstein of counsel), Jerome I. Lessne, Richard J. Concannon and William A. Krohley opposed.
Motion dismissed upon the ground that the nonfinal order sought to be appealed from was entered in an action, not a proceeding, and therefore is not one which comes within the provisions of CPLR 5602 (subd. [a], par. 2) (see Ofenloch v. Gaynor, 28 N Y 2d 806).
